Case 2:05-CV-02285-SHI\/|-tmp Document 20 Filed 07/14/05 Page 1 of 2 Page|D 16

UNITED STATES DISTRICT COU'RT
WEBTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

M. T. W. DE'VELOPERS,
Pla.intiff,

'V'.

175 FAIRFAX WAY ASSOCIATES, LTD. ,

et al.,

Defendants.

Decision by Court.

J'UDGMENT

This action came for consideration

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05-2285-Ma

before the Court. The issues have been duly considered and a

decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
without prejudice, in accordance with the Order of Dismissal,

docketed July 12, 2005.

APPROV'E

irby/nix

 

SAMUEL H. MAYS, JR.

UNITED STATES DISTRICT JUDGE

J'~v\l'~r. war

 

DATE

Tl"-is document entered on the
with Rule 58 andlor 79(a) FRCP on

(By) DEP Y CLERK

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Each party shall bear its own costs.

 

 

QYO

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Notice of Distribution

This notice confirms a copy of the document docketed as number 20 in
case 2:05-CV-02285 Was distributed by faX, mail, or direct printing on
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Honorable Samuel Mays
US DISTRICT COURT

